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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                     TACOMA DIVISION

10   MELISSA SUE GRIGSBY,                                Case No. C21-5241-MLP

11            Plaintiff,

12            vs.                                         ORDER

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            Based on the stipulation of the parties, it is ORDERED that the above-captioned case be

16   REVERSED and REMANDED for further administrative proceedings pursuant to sentence four

17   of 42 U.S.C. § 405(g). On remand, the Commissioner will instruct the administrative law judge

18   (ALJ) to offer Plaintiff the opportunity for a new hearing, take any further action needed to

19   complete the administrative record, and issue a new decision. Upon remand, the ALJ will

20   reevaluate the opinion evidence, reevaluate Plaintiff’s subjective complaints, and reevaluate

21   Plaintiff’s residual functional capacity. The ALJ will evaluate the nature, severity, and effects of

22   Plaintiff’s medically determinable post-traumatic stress disorder. If necessary, the ALJ will

23   obtain supplemental vocational expert testimony.

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              DATED this 6th day of December, 2021.
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 4                                                    A
                                                      MICHELLE L. PETERSON
 5                                                    United States Magistrate Judge

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 7
     Presented by:
 8
     s/ Edmund Darcher
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